8:24-cv-00467-JFB-MDN Doc#10_ Filed: 02/04/25 Page 1of1- Page ID# 38

14.8
AFFIRMATION OF SERVICE
UNITED STATES DISTRICT COURT Client's File No.:
STATE OF NEBRASKA. COUNTY OF NEBRASKA Index Number: _8:24-CV-00467-JFB-MDN
JAVITCH LAW OFFICE 3 EAST 3RD AVE. SAN MATEO, CA 94401 Date Filed: December 4, 2025

ALEJANDRO VALLESILLO, INDIVIDUALLY, AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED

Plaintiff
vs
VANGUARD EQUITIES, LLC, ANEW YORK LIMITED LIABILITY COMPANY, AND JEROME CERILLO, AN
INDIVIDUAL

Defendant

SECRETARY OF STATE

Steve Avery, the undersigned, affirms and states that deponent is not a party to this action,
is over 18 years of age and resides in the State of New York.

That on 2/4/2025 at 9:00 AM at 1 Commerce Plaza, Albany, New York 12260 the office of the Secretary Of State, of the
State of New York, deponent served 2 true copies of a ORDER GRANTING LEAVE, SUMMONS IN A CIVIL ACTION AND

COMPLAINT

on VANGUARD EQUITIES, LLC, ANEW YORK LIMITED LIABILITY COMPANY
(Defendant/Respondent)

Said service was effected in the following manner;

By delivering to an leaving with COLLEEN BANAHAN authorized agent in the office of the Secretary of the State, State of
New York, personally at the office of the Secretary of State, of the State of New York, two (2) true copies thereof and at that
time of making such service, deponent paid said Secretary of State a fee of $40.00.

That said service was made pursuant to 303 Limited Liability Company Law

Description:
Gender: Female Race/Skin: White Age: 40 Weight: Over 200 Lbs. Height: 5ft4in-5ft8in Hair:

Brown Glasses:No Other:

| affirm on this day___ February 4, 2025 , under the penalties of

perjury under the laws of New York, which may include a fine or imprisonment,
that the foregoing is true, and | understand that this document may be filed in
an action or proceeding in a court pee

au
Steve Avery ~< et Fl
Server Lic # wir, of
JobID# 2506247 fay otek

INTER COUNTY JUDICIAL SERVICES, LLC, 6851 JERICHO TURNPIKE, SUITE 180, SYOSSET, NY 11791 LICENSE # 137177]
UNITED PROCESS SERVICE
